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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF OKLAHOMA


JAMES LEGROS, SR.; and                          )
JACQUELINE MILIOTO, as next friend to           )
D.M., a minor as next of kin of                 )
JAMES LEGROS, JR., deceased,                    )
                                                )
               Plaintiffs,                      )
                                                )
v.                                              )           Case No. 18-CV-261-RAW
                                                )
BOARD OF COUNTY COMMISSIONERS                   )
FOR CHOCTAW COUNTY, et al.,                     )
                                                )
               Defendants.                      )




                         NOTICE OF SUBPOENA DUCES TECUM




TO:    All Parties of Record

       In accordance with Rule 45 of the Federal Rules of Civil Procedure, please take notice that

Defendants Schonna Smith and Debora Clay will serve a Subpoena Duces Tecum on Carson

Barnes Circus requesting records pertaining to this matter, a copy of which is attached hereto as

Exhibit 1. No testimony will be taken and the entity to whom the subpoena is directed is being

ordered only to produce documents or things for inspection and/or copying to the offices of

PIERCE COUCH HENDRICKSON BAYSINGER & GREEN, L.L.P., 1109 North Francis Avenue,

Oklahoma City, Oklahoma 73106.

       Dated this 6th day of March, 2019.
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                                     Respectfully submitted,


                                      s/ Jessica L. Dark
                                     Robert S. Lafferrandre, OBA No. 11897
                                     Randall J. Wood, OBA No. 10531
                                     Jessica L. Dark, OBA No. 31236
                                     PIERCE COUCH HENDRICKSON
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                                     Attorneys for Defendants
                                     Schonna Smith and Debora Clay




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 6th day of March, 2019, I electronically transmitted the above
and foregoing document to the Clerk of Court using the ECF System for filing. Based on the
records currently on file, the Clerk of Court will transmit a Notice of Electronic Filing to the
following ECF registrants:

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        Jason M. Hicks                                   Taylor M. Tyler
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                                                     s/ Jessica L. Dark
                                                    Jessica L. Dark




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